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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                              SAVANNAH DIVISION

OWNERS INSURANCE COMPANY,

       Plaintiff,

v.
                                                      Civil Action No.
TAMARA NICOLE DOCK, as Surviving                      4:21-cv-00266-RSB-CLR
Parent of Albert Wilson Dock and as
Administrator of the ESTATE OF
ALBERT WILSON DOCK; and
ANTOINE OMAR MCLENDON,

       Defendants.

          JOINT MOTION OF ALL PARTIES TO STAY PROCEEDINGS
              AND INCORPORATED MEMORANDUM OF LAW

       COMES NOW Tamara Nicole Dock, as Surviving Parent of Albert Wilson Dock and

as Administrator of the Estate of Albert Wilson Dock, Defendant in the above-styled

matter, and Plaintiff Owners Insurance Company hereby file this their Joint Request to

Stay Proceedings, showing as follows:

       1. This action has been pending since September 22, 2021.

       2. The parties are in the process of documenting a settlement and once finalized,

this settlement will dispose of all claims raised in the instant declaratory judgment action,

including Plaintiff’s claims against Defendant McLendon.

       3. Currently pending before the Court is the Motion of Defendant Tamara Nicole

Dock to Dismiss. (Doc. No. 9). As of the date of this filing, said motion has not been
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resolved. Once consummated, the settlement will alleviate the Court from the necessity

of ruling on said motion.

        4. The parties jointly request that the Court stay this matter for thirty days, to

allow time for finalization of the settlement.

        5. The Court “has broad discretion to stay proceedings as an incident to its power

to control its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997) (citation omitted);

see also Landis v. N. Am. Co., 299 U.S. 248, 254 (1936) (“[T]he power to stay

proceedings is incidental to the power inherent in every court to control the disposition of

the causes on its docket with economy of time and effort for itself, for counsel, and for

litigants.”).

        6. Once the settlement is finalized, the parties will jointly file a Stipulation of

Dismissal with Prejudice.

        WHEREFORE, the parties request that the case be stayed pending settlement

consummation of the settlement.

        THIS THE 20th DAY OF APRIL , 2022.


                                            SAVAGE & TURNER, P.C.


                                            By:     /s/ Kathryn Hughes Pinckney
                                                    Brent J. Savage
                                                    Georgia Bar No. 627450
                                                    Kathryn Hughes Pinckney
                                                    Georgia Bar No. 376110



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                             CERTIFICATE OF SERVICE

       I hereby certify that I have this day served a true and correct copy of the within

and foregoing document on all parties via email and United States Mail, first class,

postage prepaid.

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       THIS THE 20th DAY OF APRIL , 2022.

                                          SAVAGE & TURNER, P.C.

                                          By:     /s/ Kathryn Hughes Pinckney
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